                                                                                               Entered on Docket
                                                                                               March 13, 2018
                                                                                               EDWARD J. EMMONS, CLERK
                                                                                               U.S. BANKRUPTCY COURT
                                                                                               NORTHERN DISTRICT OF CALIFORNIA



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                                                                                          The following constitutes
                                             3                                            the order of the court. Signed March 12, 2018
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                                             5                                             _________________________________________________
                                                                                           M. Elaine Hammond
                                             6                                             U.S. Bankruptcy Judge

                                             7
                                                                       UNITED STATES BANKRUPTCY COURT
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                                                                       NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                )   Case No. 08-55305 MEH
                                            10   In re                                          )
UNITED STATES BANKRUPTCY COURT




                                                                                                )   Chapter 11
  for the Northern District of California




                                            11   JAMES MADISON KELLEY,                          )
                                                                                                )
                                            12                                                  )
                                                                                                )
                                            13                                                  )
                                                                                                )
                                            14                              Debtor.             )
                                                                                                )
                                            15                                                  )   Adv. No. 10-05245
                                                                                                )
                                            16   JAMES MADISON KELLEY,                          )
                                                                                                )
                                            17                            Plaintiff.            )
                                                                                                )
                                            18   v.                                             )
                                                 JPMORGAN CHASE BANK, N.A.,                     )
                                            19                                                  )   Date:            November 10, 2015
                                                 Successor to Washington Mutual Bank,
                                                                                                )   Time:            11:00 a.m.
                                            20                                                  )   Ctrm:            3070 (San Jose)
                                                                          Defendant.            )
                                            21                                                  )
                                            22
                                            23                                    AMENDED JUDGMENT

                                            24           The adversary proceeding captioned “James Madison Kelley v. JPMorgan Chase Bank,

                                            25   N.A., Successor to Washington Mutual Bank,” Adversary Proceeding No. 10-05245 (the

                                            26   “Action”), and the Debtor’s Objection (“Objection”) to Claim Nos. 2 and 3 (together, the

                                            27   “Claims”), came on for hearing before the Court on November 10, 2015, Hon. Dennis Montali,

                                            28   United States Bankruptcy Judge Presiding, on a Motion for Summary Judgment of Defendant

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                                             1   JPMorgan Chase Bank, N.A., as acquirer of certain assets and liabilities of Washington Mutual
                                             2   Bank, from the Federal Deposit Insurance Corporation, as receiver of Washington Mutual Bank
                                             3   (“Defendant” or “Creditor”) and a Motion for Summary Adjudication of Plaintiff James
                                             4   Madison Kelley (“Plaintiff” or “Debtor”).           The evidence presented having been fully
                                             5   considered, the issues having been duly heard, a decision having been duly rendered, and
                                             6   GOOD CAUSE APPEARING, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
                                             7   THAT:
                                             8           1.   The Action is hereby dismissed without prejudice as to Defendant.
                                             9           2. Plaintiff shall take and recover nothing by way of his Third Amended Complaint in
                                            10                the Action as against Defendant.
UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




                                            11           3. Judgment of dismissal is entered in favor of Defendant and against Plaintiff in the
                                            12                Action.
                                            13           4. The Claims are determined in favor of Creditor and are allowed in their entirety.
                                            14           5. Debtor’s Objection to the Claims is dismissed with prejudice.
                                            15           6. Defendant shall recover its costs.
                                            16                                      ***END OF ORDER***
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                                             1                               COURT SERVICE LIST
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                                                 James Madison Kelley
                                             3   14390 Douglass Lane
                                                 Saratoga, CA 95070
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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